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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


             In re:                                                     Chapter 11

             TOWN SPORTS INTERNATIONAL, LLC,                            Case No. 20-12168 (CSS)
             et al.,1
                                                                        (Jointly Administered)
                                               Debtors.


                          NOTICE OF (I) ENTRY OF CONFIRMATION ORDER,
                (II) OCCURRENCE OF EFFECTIVE DATE, AND (III) RELATED BAR DATES

                 PLEASE TAKE NOTICE THAT on December 18, 2020, the United States Bankruptcy
         Court for the District of Delaware (the “Bankruptcy Court”) confirmed the Second Amended Joint
         Chapter 11 Plan of Town Sports International, LLC and Its Debtor Affiliates Pursuant to Chapter
         11 of the Bankruptcy Code [Docket No. 826] (the “Plan”),2 which was attached as Exhibit A to the
         Findings of Fact, Conclusions of Law, and Corrected Order Approving the Debtors’ Disclosure
         Statement for, and Confirming the Second Amended Joint Chapter 11 Plan of Town Sports
         International, LLC and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code
         [Docket No. 828] (the “Confirmation Order”).

                PLEASE TAKE FURTHER NOTICE THAT the Effective Date, as defined in the Plan,
         occurred on December 22, 2020.

                 PLEASE TAKE FURTHER NOTICE THAT pursuant to Article V.C of the Plan, unless
         otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim with respect to
         Claims arising from the rejection of Executory Contracts or Unexpired Leases, pursuant to the
         Plan or this Confirmation Order, if any, must be Filed with the Bankruptcy Court within thirty (30)
         days after the later of (1) the date of entry of an order of the Bankruptcy Court (including this
         Confirmation Order) approving such rejection, (2) the effective date of such rejection, or (3) the
         Effective Date. Any Claims arising from the rejection of an Executory Contract or Unexpired
         Lease not Filed with the Bankruptcy Court within such time will be automatically
         disallowed, forever barred from assertion, and shall not be enforceable against the Debtors
         or the Post-Effective Date Debtor, the Estates, or their property without the need for any
         objection by the Post-Effective Date Debtor or further notice to, or action, order, or approval
         of the Bankruptcy Court or any other Entity, and any Claim arising out of the rejection of
         the Executory Contract or Unexpired Lease shall be deemed fully satisfied, released, and

         1 The last four digits of Town Sports International, LLC’s federal tax identification number are 7365. The mailing
         address for Town Sports International, LLC is 399 Executive Boulevard, Elmsford, New York 10523. Due to the
         large number of debtors in these jointly administered cases a complete list of the Debtors, the last four digits of their
         federal tax identification numbers, and their addresses may be obtained on the website of the Debtors’ claims and
         noticing agent at http://dm.epiq11.com/TownSports, or by contacting the undersigned counsel for the Debtors.
         2 Capitalized terms used but not otherwise defined herein shall have the meanings given to them in Plan.

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         discharged, notwithstanding anything in a Proof of Claim to the contrary, unless otherwise
         ordered by the Bankruptcy Court. All Allowed Claims arising from the rejection of the
         Debtors’ Executory Contracts or Unexpired Leases shall be classified as General Unsecured
         Claims and shall be treated in accordance with Article III of the Plan or such other treatment as
         agreed to by the Post-Effective Date Debtor and the Holder of such Claim.

                 PLEASE TAKE FURTHER NOTICE THAT, except as otherwise provided by this
         Confirmation Order, the Plan, or a Final Order of the Bankruptcy Court, the deadline for filing
         requests for payment of Administrative Claims shall be the later of January 21, 2021 (the
         “Administrative Claim Bar Date”), which is the first Business Day that is 30 days after the
         Effective Date. If a Holder of an Administrative Claim (other than DIP Claims, Professional Fee
         Claims, or claims subject to section 503(b)(1)(D) of the Bankruptcy Code) that is required to, but
         does not, file and serve a request for payment of such Administrative Claim by the Administrative
         Claim Bar Date, such Holder shall be hall be forever barred, estopped, and enjoined from asserting
         such Administrative Claims against the Debtors, the Post-Effective Date Debtor, or their property,
         and such Administrative Claims shall be deemed discharged as of the Effective Date without the
         need for any objection from the Post-Effective Date Debtor or any notice to or action, order, or
         approval of the Bankruptcy Court.

                 PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Plan, the Deadline to file
         final requests for payment of Professional Fee Claims is February 22, 2021 (the “Professional
         Fee Application Deadline”), which is the first Business Day that is sixty (60) days after the
         Effective Date. All professionals must file final requests for payment of Professional Fee Claims
         by no later than the Professional Fee Application Deadline to receive final approval of the fees and
         expenses incurred in these Chapter 11 Cases.

                 PLEASE TAKE FURTHER NOTICE THAT, to the extent any of the Debtors’ members
         assert any Administrative Claims against the Debtors’ estates, such claims must be submitted or
         filed by the Administrative Claims Bar Date and may be submitted by email at
         TSIClaims@hcg.com. Any such claim should include (i) the basis for such claim, (ii) the amount
         asserted, (iii) the date the asserted claim arose, (iv) contact information of the claimant, (v) to the
         extent available, the member’s membership ID number, and (vi) any other pertinent information
         with respect to the claim. The Debtors will work with the claimant to resolve their claim, which
         claim may be resolved on a consensual basis (confirmed via email) without any further order of
         the Court.

                 PLEASE TAKE FURTHER NOTICE THAT the Plan and its provisions are binding on
         the Debtors, the Post-Effective Date Debtor, any Holder of a Claim or Interest and such Holder’s
         respective successors and assigns, whether or not the Claim or Interest of such Holder is Impaired
         under the Plan, and whether or not such Holder or Entity voted to accept the Plan.

                PLEASE TAKE FURTHER NOTICE THAT the Plan, this Confirmation Order, and
         other documents and materials filed in these Chapter 11 Cases may be obtained at no charge from
         Epiq Corporate Restructuring, LLC, the notice and claims agent retained by the Debtors in these
         Chapter 11 Cases (the “Notice and Claims Agent”) by (a) visiting the Debtors’ restructuring
         website at https://dm.epiq11.com/TownSports, (b) writing to: Epiq Corporate Restructuring, LLC,
         Re: Town Sports International, LLC, et al., 10300 SW Allen Blvd., Beaverton, OR 97005,
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         (c) emailing TownSports@epiqglobal.com, or (d) calling the Debtors’ Notice and Claims Agent
         at (888) 490-0677 (Domestic) or +1 (503) 520-4484 (International). You may also obtain copies
         of any pleadings filed in these Chapter 11 Cases for a fee via PACER at:
         https://ecf.deb.uscourts.gov/.

         Dated: Wilmington, Delaware        YOUNG CONAWAY STARGATT & TAYLOR, LLP
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